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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA


 STATE OF LOUISIANA, et al.,

        Plaintiffs,

                v.

 JOSEPH R. BIDEN, JR.., in his official                    CIVIL ACTION NO. 22-cv-1213
 capacity as President of the United States of
 America, et al.,

        Defendants.


                                    [PROPOSED] ORDER

       Having considered Plaintiffs’ Motion for an Enlargement of Time to File their Reply Brief

in Support of Their Motion for a Preliminary Injunction,

       IT IS ORDERED that Plaintiffs’ Motion for an Enlargement of Time to File Their Reply

Brief in Support of their Motion for Preliminary Injunction [Doc. 270], is GRANTED.

       IT IS FURTHER ORDERED that the May 26, 2023, preliminary injunction hearing is

rescheduled for ______, 2023.

       MONROE, LOUISIANA, this ___ day of ____ 2023.



                                                    ___________________
                                                    Terry A. Doughty
                                                    UNITED STATES DISTRICT JUDGE
